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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    In re Application of

    LUCILLE HOLDINGS PTE. LTD.
    UNDER 28 U.S.C. § 1782,                                         Miscellaneous Action No.
                                                                      1:21-mc-99 (GMH)
                           Petitioner.




                             MEMORANDUM OPINION AND ORDER

          Under 28 U.S.C. § 1782, a federal district court may compel (1) a person or entity within

its district to respond to discovery requests filed by (2) an applicant that has an interest in a legal

proceeding that (3) has been, or is reasonably contemplated to be, filed in a foreign or international

tribunal. If a court has that authority, then—as directed by the Supreme Court in Intel Corp. v.

Advanced Micro Devices, Inc., 542 U.S. 241 (2004)—it must decide whether to exercise it, taking

into account not only conventional discovery issues like relevance and burden, but also the nature

of the foreign proceeding and its discovery tools. Here, in July 2021, prior to bringing any foreign

legal action, Lucille Holdings Pte. Ltd. (“Lucille”) submitted its application to this Court seeking

issuance of a subpoena for documents and one for testimony from Edge Funds Management LLC

(“Edge”), an entity headquartered in Washington, D.C., that served as the asset manager for an

office building in which Lucille had an ownership interest before it was foreclosed upon in 2020.

Although the parties cooperated for many months on Edge’s voluntary production of documents

to Lucille, they eventually reached an impasse around the beginning of 2022 and returned to seek

the Court’s guidance. In connection with its final brief (in this heavily briefed case), 1 Lucille


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 The relevant briefing comprises (1) Lucille’s application for an order pursuant to section 1782 (ECF No. 1); (2)
Edge’s response to the Court’s Order to Show Cause dated December 2, 2022 (ECF No. 14); (3) Lucille’s response to
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informed the Court that in mid-March 2022, it had filed two actions related to the dispute

underlying its section 1782 request—one in the Royal Court of Guernsey and one in the High

Court of Justice for England and Wales.

         At issue here is both whether the Court has the authority under the statute to grant Lucille’s

application and, if it does, whether it should exercise its discretion to do so. The Court finds, first,

that it does not have the authority to grant the application because a legal foreign legal proceeding

was not in Lucille’s reasonable contemplation at the time it filed its application; rather, at that time,

it was in a preliminary stage of investigating whether facts existed that would allow it to file claims.

Second, even if the Court had the authority to order the requested discovery, it would not do so.

With the filing of the foreign proceedings—eight months after the filing of its section 1782

application—the circumstances have changed sufficiently to allow fuller inquiry under Intel should

Lucille decide to initiate another such application. Therefore, Lucille’s application is denied, but

without prejudice to its filing a new, sufficient application addressing both the statutory

requirements and the Intel factors in these changed circumstances. 2


ECF No. 14 (ECF No. 17); (4) Edge’s reply to ECF No. 17 (ECF No. 18); (5) the parties’ joint status report filed
February 4, 2022 (ECF No. 21); (6) Edge’s supplemental memorandum dated February 11, 2022 (ECF No. 23); (7)
Lucille’s supplemental memorandum dated February 11, 2022 (ECF No. 24); (8) Lucille’s motion for discovery (ECF
No. 30); (9) Edge’s supplemental memorandum dated March 15, 2022 (ECF No. 33); and (10) Lucille’s response to
Edge’s supplemental memorandum (ECF No. 34). Page numbers cited herein are those assigned by the Court’s
CM/ECF system.
2
  “Since the Court’s decision on a Section 1782 application is non-dispositive, it may be decided by a magistrate judge
by opinion and order, rather than a report and recommendation to the district court.” In re Application of Shervin
Pishevar for an Order to take Discovery for use in Foreign Proceedings Pursuant to 28 U.S.C. § 1782, 439 F. Supp.
3d 290, 301 (S.D.N.Y. 2020) (citing In re Hulley Enterprises Ltd., 400 F. Supp. 3d 62, 71 (S.D.N.Y. 2019) (“This
Court agrees with the majority of courts finding that rulings on § 1782 applications are not dispositive.”)), adhered to
on reconsideration sub nom. In re Pishevar, No. 19-mc-503, 2020 WL 1862586 (S.D.N.Y. Apr. 14, 2020); see also
In re Pons, __ F. Supp. 3d __, __, 2020 WL 1860908, at *3 (S.D. Fla. 2020) (noting that “[t]he great majority of courts
to address the issue” have determined that a magistrate judge may dispose of “Section 1782 discovery motions” by
order rather than by report and recommendation and collecting cases). That said, the D.C. Circuit has recently held
that an appeal of a magistrate judge’s decision on a section 1782 application must first be addressed by a district judge
pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(a) of the Federal Rules of Civil Procedure before it can be appealed to
the Circuit. See Order, Menashe v. Covington & Burling, No. 21-7091 (D.C. Cir. Jan. 6. 2022) (dismissing appeal for
lack of jurisdiction because a district judge had not yet ruled on objections to a magistrate judge’s decision pursuant
to Rule 72(a)); cf. Charter Oil Co. v. Am. Emp’rs’ Ins. Co., 69 F.3d 1160, 1171–72 (D.C. Cir. 1995) (holding that the


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                                          I.       BACKGROUND

         A.       The Underlying Dispute between Lucille and HSBC

         The dispute underlying Lucille’s application is a property deal gone bad. In 2010, Lucille,

a Singaporean entity, received a confidential Property Investment Memorandum from HSBC

Private Bank (Suisse) SA (“HSBC”) and HSBC Alternative Investments Ltd. (“HAIL”), a London

company, inviting it to purchase an interest in an entity known as “1350 Eye Street Limited,” a

Guernsey company directed by HSBC Management (Guernsey) Limited (“HSBC Guernsey” and,

with HSBC and HAIL, the “HSBC Entities”) that was formed to purchase an office building

located at 1350 I Street, NW, Washington, DC (the “Property”). ECF No. 1-2 at 1–2, ¶¶ 2–3. The

HSBC Entities were “to be in charge of managing the Property, to closely monitor the relevant

real-estate market and the Property’s estimated value, to increase the Property’s value

substantially, and to resell it within seven years for a profit.” Lucille “obtained a beneficial

interest” in $4.1 million-worth of shares of 1350 Eye Street Limited. Id. at 2, ¶¶ 4–5. According

to Lucille, its investment, taken together with the investment of 10 other entities in 1350 Eye Street

Limited, totaled some $90 million. Id. at 2, ¶ 4. In mid-2010, 1350 Eye Street Limited purchased

the Property for approximately $208 million. Id.; see also ECF No. 19-1 at 3, ¶ 2.11. Edge—a

Delaware “real estate investor, investment advisor, and asset management firm” with its principal

place of business in Washington, D.C.—“managed all acquisition, legal, tax, debt[,] and closing

processes” for the Property and served as its asset manager. 3 ECF No. 1-2 at 3, ¶ 6; id. at 8, 13.




D.C. Circuit lacked jurisdiction over an appeal of a magistrate judge’s order on a non-dispositive dispute where no
objections were filed to the order pursuant to Rule 72(a)), cited in Order at 1, Menashe, No. 21-7091.
3
 According to Edge, an “asset manager” focuses on financial matters and maximization of a property owner’s return
on its investment, but does not manage the day-to-day operations of a property, which is the bailiwick of a “property
manager.” ECF No. 18 at 2, 4.


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       Lucille alleges that the HSBC Entities failed to “properly monitor or maintain the

Property’s value” in derogation of their fiduciary duties to Lucille. Id. at 2–3, ¶¶ 5, 7. More,

according to Lucille, the HSBC Entities “failed to cause the Property to be sold as expected in

2016–2017, when [its] value had increased . . . to the $275–292 million range.” Id. at 3, ¶ 7. By

2020, the Property’s value had dropped to $180 million, it had been refinanced twice, and

outstanding debt on it had increased to $165 million. Id. Eventually, the Property was foreclosed

on, costing Lucille its entire investment as well as its expected profits. Id. The entity 1350 Eye

Street Limited thereafter entered a liquidation process in Guernsey. ECF No. 10 at 1.

       B.      The Section 1782 Application and the Parties’ Original Agreement Regarding
               Document Production

       Lucille filed its application on July 12, 2021, seeking production of documents from and a

deposition of Edge. ECF No. 1. The application includes a declaration from Rodney Lee, an

individual who “ha[s] an ownership interest in Lucille.” ECF No. 1–2, ¶ 2. Lee asserted that the

HSBC Entities have “resisted transparently explaining their conduct to Lucille,” so that “Lucille

is pursuing its options for obtaining information about 1350 Eye Street Limited.” Id. at 4, ¶ 9. He

further stated that “Lucille believes in good faith that [those entities] have violated legal duties

owed to Lucille” and “contemplates asserting and intends to assert applicable causes of action

against HAIL, HSBC, or HSBC Guernsey (or some combination thereof) as soon as reasonably

practicable, depending on whether Lucille receives satisfactory responses to further inquiries or

requests for relief.”   Id.   According to Mr. Lee, among the causes of action Lucille was

“investigating and contemplating” were claims against HAIL for negligent breach of duty under

English law; against HSBC Guernsey for negligence and breach of fiduciary duty under Singapore

or Guernsey law and for breach of contract under Guernsey law; and other unidentified “potential

causes of action” against each of the HSBC Entities. ECF No. 1-2 at 4–5, ¶¶ 10–13; see also ECF



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No. 17-1 at 3, ¶ 7. Such actions would be brought, according to Lee, in a “suitable court” in

Singapore, Guernsey, or England, or in an arbitration in Guernsey. ECF No. 1-2 at 4–5, ¶¶ 10–12.

       The application seeks information from Edge as the “local asset manager for the Property,”

which “reported to HAIL and HSBC Guernsey and received authorizations, guidance, and

instruction from those entities.” Id. at 3, ¶ 6. More specifically, it asks for documents and

information concerning “HAIL and HSBC’s solicitation of investments in the Property[;] HAIL

and HSBC Guernsey’s duties, roles, and decision-making concerning . . . monitoring the Property

and tracking its value[;] HAIL and HSBC Guernsey’s control of funds[;] and conduct evidencing

HAIL and HSBC Guernsey’s negligence and breach of fiduciary and other duties.” Id. at 5, ¶ 14.

       Lucille’s proposed document subpoena seeks 19 categories of documents, including the

“Asset Management Agreement that Edge . . . entered into in relation to the Property” and all other

contracts related to the Property; “[a]ll documents and [ESI] relating to communications relating

to the Property between or among” Edge and the HSBC Entities; “[a]ll documents and

electronically stored information relating to 1350 Eye Street Limited”; “[a]ll documents and [ESI]

relating to” purchasing, managing, valuing, improving, refinancing, foreclosing upon, and

attempting to sell the Property; and “[a]ll documents and electronically stored information relating

to” strategies, business plans, business advice, instructions, forecasts, evaluations, etc., regarding

the Property. ECF No. 1-3. The deposition subpoena seeks testimony on 24 similar subjects, as

well as Edge’s preservation, search for, and collection of the documents and electronically stored

information sought in the document subpoena. ECF No. 1-4.

       As is its practice in section 1782 cases, the Court on July 26, 2021, issued to Edge an Order

to Show Cause why the application should not be granted and set briefing deadlines. ECF No. 4

(the “July 26 OSC”). Edge sought, and was granted, an extension of its time to respond. ECF




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Nos. 5–7. Meanwhile, the parties met and conferred, and Edge agreed to voluntarily provide the

following documents to Lucille:             (1) the Asset Management Agreement Edge entered into

regarding the Property and any additional contracts related to the Property between Edge and

HSBC, HAIL, HSBC Guernsey, or 1350 Eye Street Limited, (2) Edge’s “request for approval

files” and any substantive responses related to the Property, 4 (3) the business plan concerning the

Property, (4) third-party appraisals of the Property, (5) annual financial statements for the Property,

and (6) loan documents and term sheets for any refinancing of the Property. ECF No. 8 at 2. By

agreement of the parties, Lucille was to review the documents to determine “whether [it] desire[d]

additional documents or a deposition of Edge”; if it did, the parties agreed to meet and confer on

the issue of “additional information or testimony from Edge.” Id. at 3. Any production was made

without prejudice to either party’s rights, claims, or defenses concerning the section 1782

application. Id. That agreement was embodied in a proposed Order, signed by the Court on August

24, 2021, which also included a confidentiality provision and an extension of the time for Edge to

submit its response to the July 26 Order to Show Cause until December 1, 2021. ECF No. 9 (the

“August 24 Order”).

           Thereafter, Edge provided documents to Lucille as agreed. ECF No. 13-1 at 2–3, ¶¶ 5, 7.

According to Lucille, Edge produced 312 non-duplicate documents, 5 including

           Edge’s Asset Management Agreement . . . ; appraisals of the Property for 2015 to
           2020; emails attaching some (but not all) annual business plans for the Property for
           2015 to 2020; instruments relating to the refinancing of the loan on the Property;
           some emails and letters concerning appraisals and refinancing of the Property;
           summary balance sheets regarding the Property for 2015 to 2020; and some
           additional correspondence concerning the Property, fees owed to Edge in relation

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  Edge has stated that the “request for approval files” contain all documents relating to the “tactical and strategic
business and leasing plans for the Property, directives from HAIL and HSBC Guernsey to Edge, and Edge’s
communication of information to HAIL and HSBC Guernsey concerning the status of the investment.” ECF No. 18
at 5.
5
    According to Lucille, of the 320 documents Edge produced, 8 were duplicates. ECF No. 17 at 7.


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       to refinancing and managing the Property, the Property’s value, and other Property-
       related matters.

ECF No. 17 at 7. In early November 2021, the parties asked the Court to amend the August 24

Order to allow Lucille to provide copies of those documents for use in 1350 Eye Street Limited’s

liquidation proceedings in Guernsey to enable the liquidators to assess potential claims by the

company in liquidation against the HSBC Entities. ECF No. 10 at 1–2. The Court granted that

motion. ECF No. 11.

       C.     Lucille’s Follow-Up Request, the December 2, 2021 Order to Show Cause, and
              Subsequent Briefing

       On November 12, 2021, Lucille sent a letter to Edge requesting its voluntary production of

10 categories of additional documents:

       Category 1.    “Analyses of or plans for the leasing strategy (as referenced in
                      business plans) for . . . [the Property].”

       Category 2.    “Edge’s business plans for the Property for 2015, 2017, 2019, and
                      2020.”

       Category 3.    “Offers, solicitations of offers, and responses to offer and
                      solicitations of offers concerning the sale/purchase of the Property.”

       Category 4.    “Documents evidencing the reason for the first extension of the
                      investment term for the Property in 2015.”

       Category 5.    “Summaries or reports showing annual expenditures for
                      improvements made to the Property with enough detail to generally
                      describe the nature of the improvements.”

       Category 6.    “Analyses of or plans for an improvement strategy for the Property
                      (i.e., what improvements to the Property were advisable or planned
                      for the Property to ensure that the Property’s amenities were
                      attractive to current and prospective tenants).”

       Category 7.    “Analyses of market trends or of typical requirements for property-
                      related amenities for A-level/trophy-level commercial office
                      buildings in the Washington D.C. area.”




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           Category 8.      “Analyses comparing the Property with the office building located
                            at 1625 I Street, Washington, D.C.” 6

           Category 9.      “An accounting or reports on an annual basis showing the fees paid
                            to Edge, [HAIL], and HSBC [Guernsey] in relation to the Property.”

           Category 10. “Emails, letters, and other communications with [HAIL] or HSBC
                        [Guernsey] concerning (i) the leasing, sale or improvement strategy
                        for the Property, (ii) the business plans and market trends for the
                        Property, (iii) the Property’s decline in value, (iv) recommendations
                        and instructions concerning the leasing, sale, and major
                        improvements to the Property, and (v) fees paid to Edge, [HAIL],
                        and HSBC [Guernsey] in relation to the Property.”

ECF No. 13-2 (the “November 12 Letter”). In November and December, the parties conferred on

those additional requests. ECF Nos. 14-2 through 14-4; ECF No. 17-2 at 3, ¶ 5; id. at 6–14.

           As noted, Edge’s response to the July 26 OSC was due on December 1, 2021. ECF Nos.

9, 11. December 1, 2021, came and went without a submission from Edge. Therefore, on

December 2, 2021, the Court issued another Order to Show Cause setting a deadline of December

10, 2021, for Edge to establish why it should not be deemed to have forfeited any opposition to

the Lucille’s application and why that application should not be granted. ECF No. 12 (the

“December 2 OSC”). Edge timely responded with a motion for extension of time to respond to

the July 26 OSC and a response that argued that Lucille’s section 1782 application should not be

granted as presented and proposed modifications to the discovery requests with which Edge would

comply. ECF Nos. 13–14. In its response, Edge asserted that, because Lucille had “not yet filed

the underlying foreign litigation” the Court had “a legal basis . . . for denying Lucille’s application

outright.” ECF No. 14 at 9. The Court then set a schedule for further briefing and directed the

parties to continue to meet and confer. ECF No. 16. Conferring was unsuccessful and briefing

was filed that focused primarily on the discovery requests at issue and their burdensomeness. See



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    Lucille accepted Edge’s representation that Edge does not possess such documents. See ECF No. 17 at 18, 22.


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generally ECF Nos. 17–18. However, the parties also addressed the argument that the application

could be denied because Lucille had not yet filed a foreign proceeding. See ECF No. 17 at 11;

ECF No. 18 at 6–8. At that point, the dispute seemed ready for resolution.

        However, on January 11, 2022, Lucille filed a status update that indicated the parties’

positions were in flux. ECF No. 19. Specifically, it attached correspondence between the parties

that showed Lucille had “accept[ed] . . . for now” Edge’s representations that it did not possess

documents responsive to Categories 1 and 8; Edge’s representations that it had produced all

documents responsive to Categories 4, 6, and 7; and Edge’s representations that it would search

for further documents responsive to Categories all documents responsive to Categories 2, 3, and

5. ECF No. 19-3 at 2–4. Lucille’s status update also attached two “Letters Before Action” that

Lucille’s Guernsey counsel had sent to HAIL and HSBC Guernsey, also on January 11, 2022.

ECF Nos. 19-1–19-2. The Court ordered the parties to continue to meet and confer and to file a

joint status update on February 4, 2022. 7 ECF No. 20. The status report filed on that date indicated

the parties had resolved all disputes but three: (1) Lucille’s request for production of Edge’s emails

(Category 10, above); (2) Lucille’s request for a deposition of Edge; and (3) Edge’s request for

cost- and fee-shifting. ECF No. 21. In light of the progress made, the Court ordered the parties to

continue to confer and, if they were unable to resolve these disputes, to each file a brief stating its

final position on February 11, 2022. ECF No. 22.

        The parties did not resolve their differences and each filed a brief as ordered. ECF Nos.

23–24. Lucille asserted that it expected to “file a foreign legal proceeding against HAIL and HSBC

Guernsey no later than March 2022” alleging that:

        [t]hose parties breached their duties owed to Lucille by, among other things:
        neglecting to ensure that the Property maintained competitive status; failing to

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 That Order also granted Edge’s request for an extension of time to respond to the July 26, 2021 Order to Show Cause,
nunc pro tunc. ECF No. 20.


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       properly monitor the Property’s and Edge’s performance; misrepresenting the
       Property’s performance to investors; and permitting Edge to benefit from
       management and refinancing fees in a manner that contradicted the investors’
       interests.

ECF No. 24 at 2. Lucille contended it needed the requested additional documents and information

from Edge because, (1) without such information “it would be difficult for Lucille to test the

accuracy of HAIL and HSBC Guernsey’s communications to Lucille about the Property’s plans

and performance”; (2) “Edge’s development and proposal of strategic plans for the Property and

related communications with HAIL and HSBC Guernsey are central factually to Lucille’s

proposed claims”; and (3) “to know why the Property was not sold as planned while its valuation

remained positive . . . Lucille needs to learn from Edge (among other things) the considerations

that resulted in refinancing the Property and delaying its sale.” Id. at 2–3. It proposed two

alternative search protocols for documents responsive to Category 10, the request for emails.

Noting that Edge’s counsel had “represented that Edge Vice-President Tiffany Sanders and

President Gary Siegel . . . each keeps an electronic document folder devoted to the Property,”

Lucille asked that Edge produce the documents in those folders that contain the term “‘1350,’

which was a subject tag for the Property,” or, in the alternative, that Edge produce emails and

attachments from those folders containing the term “1350” that were “sent to or from the following

HAIL and HSBC Guernsey personnel: Paul Ruse; Stephen Rouxel, John Oldham; Daniel Samson;

Jon Evans; Christopher Allen; Guy Morell; Tim Williams; Russell Sykes; and Ian Ratledge.” Id.

at 4. Lucille further sought a 7-hour Rule 30(b)(6) deposition of Edge on the topics in its deposition

subpoena. Id. at 4–5; see also ECF No. 17 at 14. Lucille offered to share the cost of an e-discovery

vendor with Edge but objected to any further cost- or fee-shifting. ECF No. 24 at 5.

       Edge asserted that Lucille’s section 1782 application was legally insufficient because seven

months after it was filed it was still unclear “in what court system Lucille [might] someday file



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something or against precisely whom it will file, the nature or character of the still unidentified

system, or whether there are information gathering restrictions in an as-yet unidentified system.”

ECF No. 23 at 1–2. It contended that Lucille’s January 2022 Letters Before Action were “mere

challenges to HSBC and HAIL’s business decisions, which are not litigable” and that they did not

indicate that litigation was within reasonable contemplation either at the time the application was

filed or seven months later. Id. at 2. Edge further objected to Lucille’s request for “unfettered

production of 5 years of Edge’s emails,” asserted that a deposition was unnecessary or should be

limited in light of the documents Edge already produced, and demanded that Lucille pay the costs

for any further discovery, including attorney’s fees. Id. at 3–5.

       At a February 22, 2022 hearing on Lucille’s application, the Court noted that there were

still significant issues that required briefing. Id. Consequently, the next day the Court ordered the

parties to file supplemental briefs addressing:

       (1)     whether the statutory requirements of section 1782(a)—that the target of the
               discovery resides or can be found in the district in which the application is
               filed, that the discovery is for use in a foreign proceeding, and that the
               application is made by an “interested person,” 28 U.S.C. § 1782(a)—must
               be met as of the date of the application in order for a federal court to have
               subject matter jurisdiction to address an application for discovery under the
               provision;

       (2)     whether, if not strictly jurisdictional, those statutory requirements must
               nevertheless be met as of the date the application is filed in order for a
               federal court to have the authority to resolve an application for discovery
               under the provision;

       (3)     whether compliance with those requirements can be waived or forfeited by
               the target of the application and, if so, whether Edge waived or forfeited
               such compliance;

       (5)     whether Lucille (a) had met the requirements of 28 U.S.C. § 1782 as of the
               date of the application, (b) had met the requirements of 28 U.S.C. § 1782 as
               of the date of the discovery hearing in this case, or (c) will meet the
               requirements of 28 U.S.C. § 1782(a) as of some other date it proposes
               should be the relevant date;



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       (6)     the burdensomeness of Lucille’s remaining request for production of
               documents, supported by affidavits or declarations;

       (7)     the burdensomeness of Lucille’s proposed deposition subpoena, supported
               by affidavits or declarations; and

       (8)     any additional proposals for cost-sharing consistent with the Federal
               Rules of Civil Procedure.

ECF Nos. 29, 32.

       In its opening brief in response to that Order, Lucille argued, in relevant part, that the three

requirements of section 1782(a) are non-jurisdictional but nonetheless must be met before a court

may grant an application, that the court should evaluate whether an applicant has met those

requirements at the time it resolves the application, and that Lucille had met those requirements at

all stages of this litigation, from the moment it filed its application until now. See generally ECF

No. 30. It further amended its deposition request to seek not a Rule 30(b)(6) deposition of Edge,

but individual depositions of Edge’s President and Vice-President. Id. at 25. In opposition, Edge

agreed that the requirements of section 1782 are non-jurisdictional, but otherwise disagreed with

Lucille’s arguments as to the statute, arguing, among other things, that a court may grant a section

1782 application only if the applicant meets the statutory requirements at the time it files the

application and that Lucille had not done so at that time. ECF No. 33 at 3–17. Regarding the

request for emails (that is, the Category 10 documents), Edge asserted that Lucille should withdraw

its request because it can retrieve the emails from HAIL or HSBC Guernsey, two of its potential

defendants. Id. at 28–29. As to the deposition request, Edge estimated it would take hundreds—

if not thousands—of hours to prepare a deponent to testify as to the 24 topics in the proposed

subpoena. Id. at 22–27. Edge proposed a 2-hour deposition focused on “Edge’s knowledge of

strategic decisions concerning the Property communicated to Edge by HAIL or HSBC Guernsey,




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and Edge’s recommendations concerning the same.” Id. at 27. Edge did not respond to Lucille’s

amended request for individual depositions of Siegel and Sanders.

       The last of those briefs, from Lucille, was filed on March 21, 2022. In it, Lucille makes

two significant assertions. A declaration from Lucille’s counsel in this action recites that, in mid-

March 2022, “claims . . . [were] commenced in the Royal Court of Guernsey against” HSBC

Guernsey and HAIL and, in addition, a claim has been commenced against HAIL in the High Court

of Justice for England and Wales. ECF No. 35-1 at 1, 4, ¶¶ 2, 7. More, Lucille renounces its

earlier acceptance of Edge’s representations about the completeness of its responses to Categories

1 through 9 in the November 12 Letter, asserting that Edge’s counsel’s admission that he had not

reviewed the documents in the email folders at issue establish that Edge’s assertion that it had

produced all relevant documents—including all relevant documents in response to Category 10—

was misleading. ECF No. 35 at 23–24.

                                  II.     LEGAL STANDARD

       Section 1782 provides, in relevant part:

       The district court of the district in which a person resides or is found may order him
       to give his testimony or to produce a document or other thing for use in a proceeding
       in a foreign or international tribunal, including criminal investigations conducted
       before formal accusation. The order may be made pursuant to a letter rogatory
       issued, or request made, by a foreign or international tribunal or upon the
       application of any interested person . . . . To the extent that the order does not
       prescribe otherwise, the testimony or statement shall be taken, and the document or
       other thing produced, in accordance with the Federal Rules of Civil Procedure.

28 U.S.C. § 1782(a). A two-stage inquiry informs whether a federal court will grant a motion

under section 1782(a). First, the court must determine whether it can order the requested relief—

that is, whether it has the authority to do so; second, it must decide whether it should order the

requested relief—that is, whether to exercise its discretion to do so, keeping in mind the statue’s

“twin aims of ‘providing efficient assistance to participants in international litigation and



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encouraging foreign countries by example to provide similar assistance in our courts.’” Intel

Corp., 542 U.S. at 252, 255 (quoting Advanced Micro Devices, Inc. v. Intel Corp., 292 F.3d 664,

669 (9th Cir. 2002)).

       As to the first step, “[a] district court has the authority to grant an application when . . . (1)

the person from whom discovery is sought resides or is found within the district; (2) the discovery

is for use in a proceeding before a foreign or international tribunal; and (3) the application is made

by an interested person.” In re Veiga, 746 F. Supp. 2d 8, 17 (D.D.C. 2010) (citing 28 U.S.C. §

1782(a)). The second step is informed by the following four factors outlined in Intel: (1) whether

the target of the discovery request is a participant in the foreign or international proceeding, (2)

the nature of the foreign tribunal and character of its proceedings, (3) whether the application is an

attempt to “circumvent foreign proof-gathering restrictions or other policies,” and (4) whether the

request is “unduly intrusive or burdensome.” Id. (quoting Intel, 542 U.S. at 264–65). “The

discretionary guidelines in Intel do not command that each factor be weighed equally, nor do they

dictate whether any particular factor should take preceden[ce].” In re Application of Leret, 51 F.

Supp. 3d 66, 71 (D.D.C. 2014). These factors are merely designed to “guide” a court adjudicating

a section 1782 discovery application. See Intel, 542 U.S. at 247.

       Generally, the standards of the Federal Rules of Civil Procedure govern discovery sought

under section 1782(a). See, e.g., 28 U.S.C. § 1782(a) (stating that, unless the court directs

otherwise, “the testimony or statement shall be taken, and the document or other thing produced,

in accordance with the Federal Rules of Civil Procedure”); see also In re Barnwell Enters. Ltd.,

265 F. Supp. 3d 1, 15 (D.D.C. 2017) (applying the standards of the Federal Rules of Civil

Procedure to decide an application under section 1782(a)).




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                                       III.    DISCUSSION

        One thing is clear. Before a federal court can order discovery under section 1782, the three

requirements outlined in the statute must be met. But, as evidenced by the Court’s briefing order

of February 23, 2022, that statement covers a multitude of unanswered preliminary legal questions.

For example, if the three requirements of the statute are jurisdictional—that is, if they must be met

for a federal court to have subject-matter jurisdiction over a section 1782 application—then two

additional things are true: (1) a court must satisfy itself that the applicant satisfied those

requirements at the time the application was filed, see, e.g., Landmark Health Sols. v. Not for Profit

Hosp. Corp., 950 F. Supp. 2d 130, 135 (D.D.C. 2013) (“‘It has long been the case’ that subject

matter jurisdiction ‘depends on the statue of things at the time of the action brought.’ Stated

otherwise, subject matter jurisdiction is tested at the time the complaint is filed.” (internal citation

omitted) (quoting Grupo Dataflux v. Atlas Global Grp., 541 U.S. 567, 571 (2004))); and (2) the

target of a section 1782 discovery application cannot waive or forfeit an argument that the

applicant failed to meet those requirements at the time of the application, see, e.g., Ashcroft v.

Iqbal, 556 U.S. 662, 671 (2009) (“Subject-matter jurisdiction cannot be forfeited or waived . . . .”).

If those requirements are not of constitutional import, the question of when they must be met

remains—may a court grant relief under section 1782 if those three requirements were not met at

the time the application was filed, but were met at some time after that? The legal questions, in

turn, raise questions of fact. Has Lucille met the requirements and, if so, when did it do so? Or is

that issue irrelevant because Edge forfeited its arguments on the topic by failing to raise them

before the Court in their original filings?

        Having considered the parties’ extensive briefing, the Court holds that, although the three

requirements of section 1782 are not prerequisites that must be met for a federal court to have the




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constitutional power to address a section 1782 application, they nonetheless must be satisfied at

the time the application is filed for a court to grant the application. The Court further finds that

Lucille has not shown that it reasonably contemplated a foreign legal proceeding at the time it filed

its application in July 2021 and that Edge has not forfeited its arguments on that issue. Finally,

even if it had the authority under the statute to grant Lucille’s application, the Court would exercise

its discretion to decline to order the requested discovery at this time. Rather, now that Lucille has

filed claims in the courts of Guernsey and of England and Wales, it may, if appropriate, submit a

new section 1782 application that can be evaluated on its merits, including analysis of the Intel

factors.

           A.     Section 1782’s Requirements

           As noted, a section 1782 applicant must meet three requirements before a court will grant

its application: (1) the person or entity from whom discovery is sought must reside or be found

within the district; (2) the discovery must be for use in a proceeding before a foreign or

international tribunal; and (3) the application must be made by an interested person. See In re

Veiga, 746 F. Supp. 2d at 17. Some courts have characterized these requirements as jurisdictional.

For example, in Kiobel ex rel. Samkalden v. Cravath, Swaine & Moore, LLP, the Second Circuit

stated:

           A district court has jurisdiction to grant a Section 1782 petition if:

                  (1) . . . the person from whom discovery is sought reside[s] (or [is]
                  found) in the district of the district court to which the application is
                  made, (2) . . . the discovery [is] for use in a proceeding before a
                  foreign tribunal, and (3) . . . the application [is] made by a foreign
                  or international tribunal or any interested person.

895 F.3d 238, 243 (2d Cir. 2018) (alterations in original) (emphasis added) (quoting Application

of Esses, 101 F.3d 873, 875 (2d Cir. 1996)); see also, e.g., In re Gorsoan Ltd., No. 17-cv-5912,




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2021 WL 673456, at *4 (S.D.N.Y. Feb. 22, 2021) (collecting cases suggesting that the statutory

requirements are “jurisdictional”). However, the Second Circuit has more recently indicated that,

when in Kiobel it mentioned jurisdiction, it did not mean that subject-matter jurisdiction was

lacking unless all three section 1782 requirements were met. Instead, that court has glossed what

it had called “jurisdictional requirements” as really referring to statutory requirements: “This

Court reviews the district court’s ruling ‘that a petition satisfies [§] 1782’s jurisdictional [i.e.

statutory] requirements’ de novo.” See In re Guo, 965 F.3d 96, 102 (2d Cir. 2020) (alterations in

original) (quoting Kiobel, 895 F.3d at 243). That is consistent with the discussion of the issue in

Republic of Ecuador v. Connor, where the Fifth Circuit recognized that

         [d]escribing a federal court’s authority under § 1782 as ‘jurisdictional’ fits
         awkwardly with conventional Article III terminology. Normally, federal court
         jurisdiction reflects that courts’ power to decide cases or controversies between
         contending parties. Significantly, a § 1782 application may or may not be
         adversarial. The federal court addresses an interlocutory discovery application that
         is ancillary to a non-domestic proceeding. Its § 1782 order ‘adjudicates’ nothing
         else. Perhaps in recognition that Congress delegated a quasi-administrative role to
         courts in § 1782, the Supreme Court discussed the scope of a court’s “authority”—
         not its “jurisdiction”—under the statute.

708 F.3d 651, 655 (5th Cir. 2013). Indeed, both parties here agree that whether the requirements

of section 1782 are met does not affect a federal court’s subject-matter jurisdiction. 8 See ECF No.

30 at 8–12; ECF No. 33 at 3–4.


8
  Edge nonetheless asserts that the requirements are “jurisdictional” in another way. See ECF No. 33 at 4–5. It
contends that they must be met before an applicant has so-called “statutory standing.” The Supreme Court elucidated
the concept in Lexmark International, Inc. v. Static Control Components, Inc., 572 U.S. 118 (2014). Static Control
made and sold components that allowed other companies to refurbish for resale toner cartridges sold by Lexmark for
use in Lexmark’s laser printers; as such, Static Control was not in direct competition with Lexmark. Id. at 121. The
Supreme Court had to decide whether Static Control nevertheless fell “within the class of plaintiffs who Congress has
authorized to sue” for false advertising under the Lanham Act. Id. at 128. To do so, the Court used “traditional
principles of statutory interpretation” to determine “whether Static Control [had] a cause of action [against Lexmark]
under the statute.” Id. The Court found that Static Control, as a business that had alleged that its position in the
marketplace was damaged by Lexmark’s advertising, came within the class of plaintiffs whom Congress authorized
to sue under the statute and that, even though Static Control was not a direct competitor of Lexmark, Static Control
had adequately alleged that Lexmark proximately caused its injury by claiming that Static Control had infringed
Lexmark’s patents. Id. at 137–38. The Court therefore held that Static Control had “statutory standing” under the
Lanham Act. Id. at 140.


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         Even though the three requirements of the statute are not jurisdictional prerequisites, they

still must be met as of the time that the section 1782 application is filed. That should not be a

surprise. It is axiomatic that each element of a cause of action must be met at the time a claim is

filed for that claim to be cognizable in federal court. Cf. Best v. Bell, No. 13 Civ. 163, 2014 WL

1316773, at *6 (S.D.N.Y. Mar. 28, 2014) (noting that the plaintiff “could have filed suit” on the

day that “each element of his claim was satisfied”).

         But the Court need not depend only on such axioms. Relying on the Supreme Court’s

statement in Intel that a foreign proceeding must be within an applicant’s reasonable contemplation

“at the time the evidence is sought,” 542 U.S. at 259 (quoting Hans Smit, International Litigation

Under the United States Code, 65 Colum. L. Rev. 1015, 1026 (1965)), the Second Circuit has

explicitly held that courts must “assess the indicia of whether contemplated proceedings were

within reasonable contemplation at the time the application was filed.” Certain Funds, Accounts

and/or Investment Vehicles v. KPMG, LLP, 798 F.3d 113, 124 (2d Cir. 2015) (emphasis added).

Other courts outside the Second Circuit have followed suit. See, e.g., In re Caterpillar Inc., No.

3:19-mc-31, 2020 WL 1923227, at *9 (M.D. Tenn. Apr. 21, 2020) (“In addition to providing some

indication that an action is ‘being contemplated’ and will commence ‘within a reasonable time,’

the action must have been within reasonable contemplation at the time the section 1782 application



         The Court is not convinced that the issue here is one of statutory standing—that is, whether Congress
authorized applicants like Lucille to use section 1782 to seek discovery. Rather, it seems to present a much more
ordinary question: whether Lucille has satisfied the elements of the statute. In any case, as Lucille points out, statutory
standing is not a jurisdictional component. ECF No. 35 at 7. The D.C. Circuit has explained that

         [s]tatutory standing is not really about standing at all, in the sense that it limits a “court’s statutory
         or constitutional power to adjudicate a case.” Instead, statutory standing is nothing more than an
         inquiry into whether the statute at issue conferred a “cause of action” encompassing “a particular
         plaintiff’s claim.” In other words, statutory standing “is itself a merits issue.”

United States v. Emor, 785 F.3d 671, 677 (D.C. Cir. 2015) (internal citations omitted) (first quoting Lexmark, 572
U.S. at 128 & n.4, then quoting United States v. Oregon, 671 F.3d 484, 490 n.6 (4th Cir. 2012)). Thus, there is no
“jurisdictional” issue here.


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was filed with the district court.” (quoting Certain Funds, 798 F.3d at 124)); In re Wei, No. 18-

mc-117, 2018 WL 5268125, at *2 n.1 (D. Del. Oct. 23, 2018) (stating that, because “the relevant

question under § 1782 is whether ‘at the time the evidence is sought . . . the evidence is eventually

to be used’ in a foreign proceeding,’” the Court “must assess whether the proceedings were in

‘reasonable contemplation’ at the time the application was filed” (quoting Intel, 542 U.S. at 259));

In re Pioneer Corp. v. Technicolor, Inc., No. 18-cv-4524, 2018 WL 4961911, at *7 (C.D. Cal.

Sept. 12, 2018) (“[A] claim must be within reasonable contemplation at the time the application is

filed for the discovery to be ‘for use’ in a proceeding.”).

       Such a prescription makes good sense. “Generally speaking, the standards for discovery

set out in the Federal Rules of Civil Procedure also apply when discovery is sought under §

1782(a).” In re Veiga, 746 F. Supp. 2d at 19; see also, e.g., Glock v. Glock, Inc., 797 F.3d 1002,

1009 (11th Cir. 2015) (noting that it would be an “abuse [of] the statute to obtain documents

outside the discovery procedures set forth in the Federal Rules of Civil Procedure”); In re Bayer

AG, 146 F.3d 188, 195 (3d Cir. 1998) (“The reference in § 1782 to the Federal Rules suggests that

under ordinary circumstances the standards for discovery under those rules should also apply when

discovery is sought under the statute.”). “The discovery rules are designed to assist a party to

prove a claim it reasonably believes to be viable without discovery, not to find out if it has any

basis for a claim.” United States v. All Assets Held at Bank Julius Baer & Co., Ltd., 202 F. Supp.

3d 1, 9 (D.D.C. 2016) (quoting Micro Motion, Inc. v. Kane Steel Co., Inc., 894 F.2d 1318, 1327

(Fed. Cir. 1990)); see also State Farm Mut. Auto. Ins. Co. v. Physiomatrix, Inc., No. 12-CV-11500,

2013 WL 10936871, at *10 (E.D. Mich. Nov. 26, 2013) (noting that the discovery rules are not

designed “to discover whether a claim exists” (quoting McCurdy v. Wedgewood Cap. Mgmt. Co.,

No. CIV. A. 97-4304, 1998 WL 964185, at *11 (E.D. Pa. Nov. 16, 1998))); Samuels v. Eleonora




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Beheer, B.V., 500 F. Supp. 1357, 1362 (S.D.N.Y.1980) (“The discovery rules are not a hunting

license to conjure up a claim that does not exist.”), aff’d, 661 F.2d 907 (2d Cir. 1981). Requiring

a section 1782 applicant to show that a foreign proceeding is its reasonable contemplation at the

time it first seeks the assistance of a federal court to issue a subpoena helps to forestall the sort of

fishing expeditions unsanctioned by the Federal Rules of Civil Procedure. It also helps prevent an

applicant from using a pending section 1782 application as leverage to extract information from a

target when the applicant is still investigating whether it might have a viable cause of action in a

foreign jurisdiction. 9

         Additionally, and equally importantly, requiring a section 1782 applicant to meet the

statutory prerequisites at the time the application is filed promotes judicial efficiency.                            It

encourages applicants who are seeking discovery as part of a pre-filing investigation to make a

more comprehensive showing that a foreign proceeding is in reasonable contemplation, which will

then aid the court (if the application is ex parte) or the parties (if it is not) in evaluating both the

statutory requirements and the discretionary factors, as well. For example, a clear identification

of the likely claims, parties, and tribunal will aid in determining the nature of the foreign tribunal

and the character of its proceedings and proof-gathering restrictions, as well as allowing a fuller

analysis of relevancy and burdensomeness, such as whether the requested discovery is likely to be

available from a participant in the contemplated foreign proceeding. More, it will discourage




9
  Section 1782(b) expressly allows a person or entity within the United States to voluntarily provide testimony or other
information for use in a foreign or international proceeding: “This chapter does not preclude a person within the
United States from voluntarily giving his testimony or statement, or producing a document or other thing, for use in a
foreign or international tribunal before any person or in any manner acceptable to him.” 28 U.S.C. § 1782(b). That
is what happened here.



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prospective litigants from monopolizing scarce court resources with premature applications they

hope will later meet the statutory requirements. 10

         For these reasons, the Court holds that a section 1782 applicant must show that, at the time

the application is filed, the three statutory requirements are met, including that there is a proceeding

in a foreign or international tribunal “within reasonable contemplation,” Intel, 542 U.S. at 259, in

which the requested discovery will be used.

         B.       Forfeiture

         As noted, because the question of whether the section 1782 statutory requirements have

been met does not affect the Court’s jurisdiction, a party can waive or forfeit an argument that

those requirements have not been met. 11 See, e.g., Ecuadorian Plaintiffs v. Chevron Corp., 619

F.3d 373, 376 n.2 (5th Cir. 2010) (finding the argument that the statutory requirement that evidence

sought in a section 1782 application was not “for use” in a foreign proceeding had been forfeited

because it was not raised in the district court).

         Lucille argues that Edge forfeited its objections to the statutory sufficiency of Lucille’s

application “by not raising them at the appropriate time.” 12 ECF No. 35 at 11. As a reminder, the




10
   A mischievous reader may wonder what happens if an applicant shows that a foreign proceeding was pending or
reasonably contemplated when its application was filed, but, during the pendency of the application, that proceeding
is dismissed or no longer reasonably contemplated. May the Court consider that post-filing event? Of course it can,
when exercising its discretion to grant or deny the application.
11
  That would be true even if meeting those requirements were necessary for an applicant to have statutory standing.
See, e.g., In re Auld, 689 F. App’x 623, 627 (10th Cir. 2017) (“Questions of statutory standing aren’t jurisdictional
and therefore may be [forfeited] through inadequate briefing.” (citation omitted)); Merrimon v. Unum Life Ins. Co. of
Am., 758 F.3d 46, 53 n.3 (1st Cir. 2014) (stating that “arguments based on statutory standing, unlike arguments based
on constitutional standing,” can be forfeited); see also note 8, supra.
12
  Lucille correctly notes that waiver is the intentional abandonment of a known right, while forfeiture is unintentional
abandonment. ECF No. 35 at 11. It also suggests that Edge waived objections by not raising them soon enough. Id.
The Court finds no evidence of intentional relinquishment; rather the question is whether Edge forfeited these
arguments. See, e.g. Brooks v. Berryhill, No. 15-cv-436, 2017 WL 10716887, at *5 n.8 (D.D.C. Oct. 26, 2017)
(distinguishing between forfeiture and waiver), report and recommendation adopted, 2019 WL 120767 (D.D.C. Jan.
7, 2019).


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Court entered an Order to Show Cause on July 26, 2021, directing Edge to explain why Lucille’s

section 1782 application should not be granted. ECF No. 4. The August 24 Order extended the

deadline for responding to the July 26 OSC to December 1, 2021. ECF No. 9. The August 24

Order also noted that the parties retained their “rights, claims and defenses regarding the

Application (including whether the Application is proper under 28 USC § 1782 or otherwise

enforceable against Lucille).” Id. at 3. When December 1, 2021, came and went without a

submission from Edge, the Court issued the December 2 OSC asking Edge to explain why its

failure to respond to the July 26 OSC should not be deemed a waiver or forfeiture of any opposition

to Lucille’s application and why that application should not be granted. ECF No. 12 at 2. Edge

timely responded with a submission seeking an extension of the December 1 deadline nunc pro

tunc and arguing that the discovery that Lucille was then seeking should not be compelled. See

generally ECF No. 14. That submission also questioned whether a foreign proceeding was in

Lucille’s reasonable contemplation, noting that the application could be denied on that basis. Id.

at 9. The Court ordered briefing on Edge’s request for an extension of time and on the merits of

Lucille’s section 1782 application. ECF No. 16. Lucille did not oppose Edge’s extension request

and the Court granted it in January 2022, after the parties had filed their merits briefs. See ECF

No. 20 at 2–3. Later, there were additional submissions from the parties on the merits of the

application, a hearing, and yet more briefs, which did, in fact, address whether a foreign proceeding

was within Lucille’s reasonable contemplation. ECF Nos. 21–24, 27, 30, 33, 35; Minute Entry

(Feb. 22, 2022).

       Lucille contends that, although the August 24 Order was entered “without prejudice to the

Parties’ rights, claims and defenses regarding the [section 1782] Application (including whether

the Application is proper under 28 USC § 1782 or otherwise enforceable against Edge),” Edge




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flubbed the deadline of December 1, 2021 included in that Order and, in its response to the

December 2 OSC failed to address the question of waiver or forfeiture or “offer any clearly

identified argument challenging whether Lucille’s Application had met the statutory requirements

of § 1782(a).” ECF No. 35 at 11 (first quoting ECF No. 9 at 3, then quoting ECF No. 12 at 2).

According to Lucille, “[i]f Edge were going to contend that Lucille had failed to meet § 1782(a)’s

statutory requirements . . . , Edge’s December 8, 2021 brief was the court-ordered time to do it—

and Edge did not. Edge thus . . . forfeited its objections.” Id. at 12. It further states that Edge first

fleshed out its argument that Lucille had failed to meet section 1782’s statutory requirements in its

brief filed on March 15, 2022, during the most recent (and final) round of submissions on this

application. Id. at 13.

        The Court has already spent too much time on this issue (although it cannot blame the

parties, having invited them to expound on it as recently as February 2022). At the outset of this

case, when the parties were concentrating on Edge’s voluntary production of information to Lucille

(as is contemplated under section 1782(b)), Edge preserved its rights to challenge the legal

sufficiency of the application. ECF No. 9 at 3. Over the course of these proceedings, Edge has

raised the “reasonable contemplation” issue. See, e.g., ECF No. 14 at 9; ECF No. 23 at 1–3. At

this point, the issue has been fully aired and fully briefed. A finding of forfeiture is within the

Court’s discretion and a failure to timely raise an issue may be excused where the opposing party

had an opportunity to respond. See Tatneft v. Ukraine, 771 F. App’x 9, 9 (D.C. Cir. 2019)

(“Ukraine contends that Tatneft failed to timely raise the waiver exception before the district court.

But that court excused the forfeiture because Ukraine had ample opportunity to respond and thus

suffered no prejudice. This decision was not an abuse of discretion, so we decline to revisit it.”).

Lucille has had ample opportunity to respond to Edge’s arguments that it failed to meet section




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1782’s statutory requirements and, indeed, has done so admirably. Any putative forfeiture is

excused.

         C.       Lucille’s Fulfillment of the Statutory Requirements

         Again, a court has the authority to grant a section 1782 application if, at the time the

application is filed, (1) the person or entity from whom discovery is sought resides or can be found

within the district; (2) the discovery is for use in a proceeding before a foreign or international

tribunal that is pending or reasonably contemplated; and (3) the application is made by an

interested person. See In re Veiga, 746 F. Supp. 2d at 17. Because the briefing has focused on the

second requirement, the Court will assume without deciding that the first and third are met. 13

         Where there is not a pending proceeding in a foreign or international tribunal, the second

requirement can be a tricky one. The “reasonable contemplation” requirement helps to “guard

against abuse of section 1782.” In re Letter of Request from the Crown Prosecution Serv. of the

U.K., 870 F.2d 686, 692 (D.C. Cir. 1989). In analyzing the issue, courts must balance “Congress’s

desire that broad discovery be available for parties involved in international litigation” against “the

potential that parties may use section 1782 to investigate whether litigation is possible in the first


13
  To be sure, the first requirement is likely satisfied. Edge is (and has been) headquartered in the District of Columbia
and can therefore be “found” within this district. See, e.g., In re DiGiulian, No. 1:19-cv-132, 2020 WL 5253849, at
*3 (D.D.C. Sept. 3, 2020) (“Courts appear to agree . . . ‘that a corporation is “found” in a district where it is
headquartered or incorporated.’” (quoting In re Application of Masters, 315 F. Supp. 3d 269, 274 (D.D.C. 2018))).
As to the third requirement, the Supreme Court has defined an “interested person” as a person or entity that
“possess[es] a reasonable interest in obtaining [judicial] assistance.” Intel, 542 U.S. at 256 (alterations in original)
(quoting Smit, International Litigation 1027). Courts have found entities that contemplate initiating foreign litigation
qualify as “interested persons.” See, e.g.. In re Tovmasyon, __ F. Supp. 3d __, __, 2021 WL 3737184, at *5 (D. Puerto
Rico 2021) (“Here, Petitioners are ‘interested persons’ for Section 1782 purposes because, as noted earlier, they
‘anticipate initiating a proceeding as claimants in the High Court of England and Wales in London, England.’”
(quoting the record)); accord In re MT Baltic Soul Produktentankschiff-Ahrtsgesellschaft mgH & Co. KG, No. 15
Misc. 319, 2015 WL 5824505, at *1 (S.D.N.Y. Oct. 6, 2015). There is certainly an argument that a section 1782
applicant that has not shown that a foreign proceeding is in reasonable contemplation has also not shown that it is an
interested party. Indeed, the Second Circuit, while recognizing that the Supreme Court’s definition is “expansive,”
has noted that an interested person must show that it has “a reasonable interest in obtaining judicial assistance in
the . . . foreign proceedings” and suggested that establishing “an established right to provide evidence” and have it
considered in the foreign proceeding or a recognized relationship between the section 1782 applicant and a participant
in those proceedings might be sufficient to satisfy that requirement. Certain Funds, 798 F.3d at 119–20. Those would
be difficult things to show where there is no reasonably-contemplated foreign proceeding.


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place,” which, as discussed above, “is not an appropriate [basis] for a court to compel discovery.”

In re Certain Funds, Accounts, and/or Inv. Vehicles Managed by Affiliates of Fortress Inv. Grp.

LLC, No. 14 Civ. 1801, 2014 WL 3404955, at *6 (S.D.N.Y. July 9, 2014), aff’d, Certain Funds,

798 F.3d 113; see also, e.g., All Assets Held at Bank Julius Baer & Co., 202 F. Supp. 3d at 9

(“The discovery rules are designed to assist a party to prove a claim it reasonably believes to

be viable without discovery, not to find out if it has any basis for a claim.” (quoting Micro Motion,

Inc., 894 F.2d at 1327)). If a court “doubts that a proceeding is forthcoming, or suspects that the

request is a ‘fishing expedition,’” it “should deny the request.” In re Newbrook Shipping Corp.,

498 F. Supp. 3d 807, 816 (D. Md. 2020) (quoting In re Request for Assistance for Ministry of Legal

Affairs of Trinidad and Tobago, 848 F.2d. 1151, 1156 (11th Cir. 1988)), rev’d and remanded on

other grounds, __ F.4th __, 2022 WL 1162408 (4th Cir. 2022). Therefore, to show that a foreign

proceeding is in reasonable contemplation, the applicant must provide “some objective indicium

that the action is being contemplated” and will be brought within a reasonable time. 14 Certain

Funds, 798 F.3d at 123; see also, e.g., In re Consorcio Ecuatoriano de Telecomunicaciones S.A.,

747 F.3d 1262, 1270 (11th Cir. 2014) (“[A] district court must insist on reliable indications of the

likelihood that proceedings will be instituted within a reasonable time.” (quoting Crown

Prosecution Serv., 870 F.2d at 692)).

         As noted, facts indicating that at the time the application was filed, the discovery was

sought in order to determine whether litigation could or should be pursued are insufficient to meet

the “reasonable contemplation” standard. See, e.g., Ayyash v. Crowe Horvath, No. 17-mc-482,




14
   Lucille has asserted that “[e]stablishing that discovery materials are for ‘use’ in a foreign proceeding is a very low
bar.” ECF No. 1-1 at 13. However, the case it cites for that proposition—In re Masters—involved a foreign
proceeding that was already pending, as did the case In re Masters relied on for its assertion that the “burden imposed
on an applicant is de minimis.” See 315 F. Supp. 3d 269, 273–74 (D.D.C. 2018) (quoting In re Veiga, 746 F. Supp.
2d at 18).


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2018 WL 2976017, at *3 (S.D.N.Y. June 13, 2018) (denying a section 1782 application where the

facts suggested that the application was “using the . . . application as a fishing expedition to

determine if it should pursue litigation”). So, for example, the Second Circuit has found that

merely hiring counsel and discussing initiating litigation is not “an objective showing” that

allegedly planned proceedings “were within reasonable contemplation.” Certain Funds, 798 F.3d

at 124. However, because of the “fact-specific nature of the inquiry,” courts have resisted

identifying “‘what precisely an applicant must show’ to establish that a proceeding is more than

speculative.” Mangouras v. Squire Patton Boggs, 980 F.3d 88, 102 (2d Cir. 2020) (quoting

Certain Funds, 798 F.3d at 123). Nevertheless, a review of section 1782 cases indicates the

requirements will be met where an applicant provides sufficient specificity and detail about some

combination of the following non-exhaustive list of factors:

         (1)      the contemplated claims;

         (2)      the preparations made for filing those claims (including audits, investigations,
                  retention of foreign counsel, etc.);

         (3)      the tribunal in which those claims will be brought;

         (4)      the time frame in which those claims will be brought; and

         (5)      the evidence supporting those claims. 15




15
   As noted, this is a non-exhaustive list. Other factors will likely become relevant in other circumstances. For
example, some judicial systems have heightened pleading standards, requiring a plaintiff to submit its evidence along
with the pleading initiating the action. See, e.g., Consorcio Ecuatoriano de Telecommunicaciones, 747 F.3d at 1271
(noting that “under Ecuadorian law, [a plaintiff] must submit its evidence with the pleading at the time it commences
the civil action”); In re IJK Palm LLC, No. 3:16MC171, 2019 WL 2191171, at *1 (D. Conn. Jan. 30, 2019) (noting
that Cayman Islands, where the contemplated action was to be brought, has “very high” pleading standards that
“require, at the outset of the litigation, a submission of detailed evidence that proves the existence of fraud and
mismanagement”). A court may well take that into account in analyzing a section 1782 application (the Court notes,
however, that the existence of a heightened pleading standard in a foreign jurisdiction should not interfere with an
applicant making a showing satisfactory to a U.S. court that litigation in that jurisdiction is reasonably contemplated).
Similarly, other concerns might come to the forefront where a crime is under investigation and charges are being
contemplated. However, neither of those situations is presented here.


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       For example, in In re Furstenberg Finance SAS, the Eleventh Circuit affirmed the district

court’s finding that the applicants “produced ‘reliable indications of the likelihood that

proceedings [would] be instituted within a reasonable time” where they asserted that they would

“file proceedings in Luxembourg within forty-five days of receiving the discovery sought under §

1782” and included with their application “specific evidence supporting [their] claims” for fraud,

misuse of corporate assets, and managerial misconduct under the Luxembourg Companies Law.

877 F.3d 1031, 1035 (11th Cir. 2017); see also In re Furstenberg Finance SAS, No. 16-mc-60266,

2016 WL 10707012, at *1 (S.D. Fla. July 27, 2016) (identifying the specific claims the applicant

planned to file).      In Consorcio Ecuatoriano de Telecomunicaciones, the “reasonable

contemplation” showing was met where the applicant sought the discovery in support of claims

that two of its former employees had “violated Ecuador’s collusion laws in connection with

processing and approving [certain] allegedly inflated invoices” and provided details of an

“extensive” internal audit and investigation uncovered facts supporting those claims. 747 F.3d at

1265, 1270–71. Similar showings have satisfied other courts. See, e.g., Bravo Express Corp. v.

Total Petrochemicals & Refining U.S., 613 F. App’x 319, 323 (5th Cir. 2015) (finding that the

applicant had sufficiently satisfied the second requirement where, along with its section 1782

application, the petitioner filed a sworn affidavit from a partner at the law firm representing the

petitioner asserting that an action would be filed “imminently” in a particular foreign court and

laid out “in great detail” the facts giving rise to the prospective action); In re Application of

Hansainvest Hanseatische Inv.-GmbH, 364 F. Supp. 3d 243, 249–50 (S.D.N.Y. 2018) (finding

sufficient objective indicia where the applicant had hired counsel in the jurisdiction where foreign

litigation was contemplated, retained experts, sent a detailed demand letter to the potential

defendant, and made affirmative representations as to when the foreign proceeding would be filed);




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In re Kiobel, No. 16 Civ. 7992, 2017 WL 354183, at *3 (S.D.N.Y. Jan. 24, 2017) (finding the

second statutory factor satisfied where the applicant showed that counsel in the Netherlands (where

litigation was contemplated) had “(1) drafted a writ of summons, which is the initiating document

in Dutch proceedings; (2) applied for and obtained legal aid on behalf of [the applicant] from the

Dutch Legal Aid Board, which required a showing that meaningful steps had been taken to prepare

for the action; and (3) sent ‘liability letters’ to [the putative opposing party], which had the effect

of tolling the statute of limitations”), rev’d on other grounds sub nom. Kiobel ex rel. Samkalden,

895 F.3d 238; cf., e.g., In re MT Baltic Soul Produktentankschiff-Ahrtsgesellschaft mgH & Co.

KG, No. 15 MISC 319, 2015 WL 5824505, at *2 (S.D.N.Y. Oct. 6, 2015) (finding the “reasonable

contemplation” requirement not met where the applicants “[did] not identify with particularity the

types of proceedings they expect to bring against the purported [defendants], nor the countries or

tribunals in which they may take action (aside from cursory references to England and Anguilla)”).

       Here, Lucille’s submissions do not establish that, at the time the application was filed, a

foreign proceeding was in its reasonable contemplation. The application itself was accompanied

by a declaration from Lee, which outlines in five paragraphs the purchase of the Property, the

failure to sell it in 2016–2017, the decline in its value, and the foreclosure. ECF No. 1-2 at 1–3,

¶¶ 3–5, 7–8. The representations regarding potential litigation are threadbare, stating that “Lucille

is investigating and contemplates asserting” causes of action

       (1)     “against HAIL under English law for the negligent breach of its duty to
               continuously monitor the Property’s performance and to implement
               available measures to improve Property value. With the help of legal
               counsel, a proceeding asserting such a claim would likely be brought in a
               suitable court in England, Singapore, or Guernsey or in an arbitration
               proceeding in Guernsey”;

       (2)     “under Guernsey or Singapore law against HSBC Guernsey, as director of
               1350 Eye Street, for its negligence and breaches of fiduciary duties owed to
               Applicant and 1350 Eye Street Limited. With the help of legal counsel, a



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                  proceeding asserting one or more such claims would likely be brought in a
                  suitable court in Singapore or Guernsey or in an arbitration proceeding in
                  Guernsey”; and

         (3)      “under Guernsey law against HSBC Guernsey for breaching its duty under
                  1350 Eye Street Limited’s shareholder agreement to keep Lucille duly
                  informed as to all financial and business affairs of the Property and to
                  provide details of any actual or prospective material change therein as soon
                  as details were available, thereby causing Lucille to suffer preventable
                  losses. With the help of legal counsel, a proceeding asserting that claim
                  would likely be brought in a suitable court in Guernsey or in an arbitration
                  in Guernsey.”

Id. at 4–5, ¶¶ 10–12. In addition, Lee asserted that Lucille was investigating and contemplated

asserting “other potential causes of action against HAIL, HSBC Guernsey, or HSBC. With the

help of legal counsel, investigation is continuing concerning additional claims and the appropriate

jurisdiction and tribunal for asserting them.” 16 Id. at 5, ¶ 13. The application provides only the

most general identification of potential claims and of the many jurisdictions in which such claims

might perhaps be brought. That is not enough. See, e.g., MT Baltic Soul, 2015 WL 5824505, at

*2 (denying a section 1782 application where the applicants failed to “identify with particularity

the types of proceedings they expect to bring” or “the countries or tribunals in which they may

take action (aside from cursory references to England and Anguilla)”). Nowhere are there any

particulars about what facts support the claims—indeed, the declaration reads as if the theory of


16
  In its most recent briefs, Lucille has argued that the discovery it seeks is for use in Guernsey liquidation proceedings
of 1350 Eye Street Limited, asserting that Edge is an “interested party” in that proceeding as an “indirect investor in
the company being liquidated.” ECF No. 35 at 16; see also ECF No. 30 at 24. That is an argument of recent vintage
and exists nowhere in Lucille’s submissions prior to March 2022. Rather, up until then, Lucille had argued exclusively
that it sought production of documents for use in a putative proceeding that it would bring against one or more of the
HSBC entities. In any case, that liquidation does not change this analysis. There is no indication that, at the time
Lucille filed its section 1782 application, it sought documents from Edge to be used in a Guernsey liquidation
proceeding, which does not appear to have been pending at the time of that application. Thus, Lucille has not shown
that it was seeking documents from Edge to be used in a reasonably contemplated liquidation proceeding.
Additionally, Lucille has failed to explain in any detail how the documents it now seeks to compel Edge to produce
would be relevant to that proceeding, asserting primarily that the documents Edge voluntarily produced are “being
used in . . . the private members-voluntary Liquidation proceeding in Guernsey. ECF No. 30 at 24. Finally, that
proceeding is a “private members voluntary Liquidation.” Id. Lucille does not even address whether such “private”
and “voluntary” proceedings would qualify under section 1782 as proceedings “in a foreign or international tribunal.”
28 U.S.C. § 1782(a).


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liability is merely that the Property lost value and was foreclosed upon, so either HSBC, HSBC

Guernsey, and/or HAIL must have breached their duties. See, e.g., In re Abid Valech, No. 20-mc-

23408, 2020 WL 8919124, at *7 (S.D. Fla. Dec. 31, 2020) (recommending denying a section 1782

application where the legal theory provided for the contemplated foreign proceeding was based on

“speculation” and “assumption[s]”), report and recommendation adopted, 2021 WL 1062228

(S.D. Fla. Mar. 18, 2021). Perhaps that is unsurprising. There is no indication that Lee is familiar

with the laws of the myriad jurisdictions in which litigation was allegedly contemplated or with

the procedures of the courts or arbitral forum in which litigation might be brought. Thus, the

representations are a far cry from, for example, a detailed explanation from legal counsel on the

specifics of the contemplated claims and the tribunal where they would be filed. See, e.g., Bravo

Express, 613 F. App’x at 323 (crediting a detailed affidavit from counsel regarding the claims and

the foreign court in which they would be filed). Moreover, Lucille points out that “at all relevant

times, it has been represented . . . by Guernsey, English, and Singaporean counsel in relation to

the contemplated foreign proceedings” (ECF No. 30 at 24), so a declaration from one of them

would surely have been possible. 17

        Tellingly, Lucille has made representations that undermine its statements that, when it filed

its application, it was contemplating an action that would be brought within a reasonable time.

Lee’s affidavit asserts that “Lucille contemplates asserting and intends to asset applicable causes

of action against HAIL, HSBC, or HSBC Guernsey (or some combination of those companies) as

soon as reasonably practicable, depending on whether Lucille receives satisfactory responses to

further inquiries or requests for relief.” ECF No. 1-2 at 4, ¶ 9. That, in tandem with the slightly

less vague representations set out above, establishes that Lucille did not know where, when, or


17
  As noted, the mere fact that counsel has been retained in a foreign jurisdiction is not sufficient evidence that a
foreign proceeding is in reasonable contemplation. See, e.g., Certain Funds, 798 F.3d at 124.


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even against whom the allegedly contemplated foreign proceedings would be brought. More, the

declaration explicitly states that whether this inchoate foreign proceeding will be brought is

dependent “on whether Lucille receives satisfactory responses to further inquiries or requests for

relief.” Id. That phrase is ambiguous. It could mean that the foreign proceeding turns on the

information Lucille receives from Edge—a clear indication that, at the time the application was

filed, Lucille was searching for the factual basis for a claim. It could also mean that litigation

would not be necessary if the HSBC Entities agreed to provide relief to Lucille voluntarily. At

least one court has held that issuance of a letter stating that litigation will not be brought if the

potential defendant voluntarily meets certain conditions weighs against a finding that litigation

was in reasonable contemplation. See In re Caterpillar Inc., 2020 WL 1923227, at *10 (finding

that the sending of a cease-and-desist letter (that was complied with) “demonstrates that no legal

proceeding was reasonably being contemplated”).

       Later submissions reinforce the conclusion that proceedings in a foreign or international

tribunal were not yet in Lucille’s reasonable contemplation in July 2021. For example, on

December 22, 2021, Lucille stated that “Edge’s knowledge of tactical and strategic business and

leasing plans for the Property, directives from HAIL and HSBC Guernsey to Edge, and Edge’s

communication of information to HAIL and HSBC Guernsey as to the true status of the

investment” are “relevant to showing whether or to what extent HAIL, HSBC, and HSBC

Guernsey accurately or inaccurately disclosed to investors the true status of the investment,

whether they breached their duties to investors, and related issues.” ECF No. 17 at 6 (emphasis

added). It further stated that Lucille “needs additional information from Edge to compare

representations and omissions by HAIL, HSBC, and HSBC Guernsey with the facts concerning

the Property’s management possessed by Edge” and characterized the requested discovery as




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“crucial” because “Lucille lacks detailed information concerning plans for managing the Property

and the strategic planning and status information Edge provided to [the HSBC Entities]” and needs

to “be able to analyze the accuracy of disclosures, material omissions, and failures relating to the

strategic direction and monitoring of the Property.” Id. at 8, 13. Lee’s second declaration, which

is attached to Lucille’s December brief, is even clearer: “Lucille wishes to promptly obtain

additional information and documents from Edge. Documents and information in the possession

of Edge concerning its plans and performance (which Lucille does not possess) are relevant to and

necessary for developing Lucille’s contemplated claims” against the HSBC Entities. ECF No. 17-

1 at 3, ¶ 7 (emphasis added). That is, it appears that, as late as the end of December 2021 (five

months after the filing of the application), Lucille was seeking discovery from Edge in order to

determine whether it had a cause of action against any of the HSBC Entities. That is not a proper

use of section 1782. 18 See, e.g., In re Certain Funds, 2014 WL 3404955, at *6 (“Courts must

embrace Congress’s desire that broad discovery be available for parties involved in international

litigation while also guarding against the potential that parties may use section 1782 to investigate

whether litigation is possible in the first place, putting the cart before the horse. The latter is not

an appropriate one for a court to compel discovery.”).

         The Court thus finds that Lucille’s section 1782 application lacked sufficient specificity

and detail to allow the Court to determine that it sought the requested discovery for use in a foreign

or international legal proceeding that was reasonably contemplated at the time it was filed.

Because Lucille did not satisfy the statutory prerequisites for relief under that provision, its



18
  This decision does not contravene the established rule that discovery is available under section 1782 when potential
claims are at the investigative stage. Rather, it merely requires an applicant to present the court with objective indicia
that its investigation has gone past the preliminary stages and it is not seeking to use the statute or the tools of the
Federal Rules of Civil Procedure to “investigate whether litigation is possible in the first place,” In re Certain Funds,
2014 WL 3404955, at *6, or “find out if it has any basis for a claim,” All Assets Held at Bank Julius Baer & Co., 202
F. Supp. 3d at 9.


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application will be denied at this time. However, as discussed below, the denial is without

prejudice to the filing of a new application that meets section 1782’s requirements.

        D.      The Court’s Discretion

        Even if the Court had the authority to grant Lucille’s section 1782 application, it would not

do so in the exercise of its discretion. The Supreme Court has identified four factors that may be

used to guide a district court’s discretion in resolving such an application: (1) whether the target

of the discovery request is a participant in the foreign or international proceeding, (2) the nature

of the foreign tribunal and character of its proceedings, (3) whether the application is an attempt

to “circumvent foreign proof-gathering restrictions or other policies,” and (4) whether the request

is “unduly intrusive or burdensome.” In re Veiga, 746 F. Supp. 2d at 17 (quoting Intel, 542 U.S.

at 264–65). “[T]he Intel factors are non-exhaustive, and a court may exercise its discretion to deny

a petition based on other considerations.” In re Petition of the Republic of Turkey, No. 19-cv-

20107, 2020 WL 4035499, at *2 (D.N.J. July 17, 2020) (citing Kulzer v. Esschem, Inc., 390 F.

App’x 88, 92 (3d Cir. 2010)); see also In re Bayerische Motoren Werke AG, No. 19-MC-80272,

2019 WL 5963234, at *3 (N.D. Cal. Nov. 13, 2019) (noting that the Intel factors are “non-

exhaustive”); JSC MCC EuroChem v. Chauhan, No. 17-MC-5, 2018 WL 3872197, at *3 (M.D.

Tenn. Aug. 15, 2018) (“In Intel Corp., the Court repeatedly emphasized that these factors are non-

exhaustive and ‘may’ be taken into account as applicable.” (quoting Intel, 542 U.S. at 264–65)).

        Lucille’s vagueness about the tribunal(s) in which it sought to file claims has made analysis

of the Intel factors difficult, if not impossible. 19 As Edge noted a few months ago, it could not

address three of the four guides the Supreme Court has suggested to district courts: it was unclear

if Edge would be a participant in a matter before a foreign tribunal, what was the nature of the


19
  Indeed, that is another reason courts should require more detail about the applicant’s allegedly reasonably-
contemplated foreign proceeding in their applications than Lucille provided in its.


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foreign tribunal and character of its proceedings, and whether the foreign tribunal had proof-

gathering restrictions that Lucille was attempting to circumvent. ECF No. 18 at 7. It also made

more difficult the analysis of burdensomeness under the fourth Intel factor. Rule 26 of the Federal

Rules of Civil Procedure, which governs subpoenas, requires a court to limit the extent or

frequency of discovery that is “unreasonably cumulative or duplicative, or can be obtained from

some other source that is more convenient, less burdensome, or less expensive.” Fed. R. Civ. P.

26(b)(2)(C)(i). More, “[w]hen the information sought [in a section 1782 application] is equally

available through the foreign proceeding from a party to that proceeding, such requests targeting

a different person in the United States are by their very nature unduly burdensome.” In re

Macquerie Bank, Ltd., No. 2:14-cv-00797, 2015 WL 3439103, at *9 (D. Nev. May 28, 2015).

With no clear indication of who would be sued where, it was difficult to intelligently assess the

question of burden. 20

        The circumstances have changed. In March 2022, Lucille finally pleaded its claims in the

courts of Guernsey and of England and Wales. ECF No. 35-1 at 1, 4, ¶¶ 2, 7. Fuller analysis of

the Intel factors, including relevance and burdensomeness, has become possible. More, Lucille’s

focus since November 2021 on ten discrete categories of documents—not to mention its focus

since January 2022 on only one of those categories (the Category 10 documents)—suggests that

the proposed document subpoena filed with its application is likely overbroad. Its amendment of

its request for a Rule 30(b)(6) deposition of Edge to instead seek individual depositions of two of

Edge’s executives suggests that its original deposition subpoena is both inaccurate and overbroad.


20
  Recall, for example, that one of Lucille’s proposed protocols for production of emails required Edge to produce
only those emails that were sent to or from certain HAIL or HSBC Guernsey personnel. ECF No. 24 at 4. Those
same documents would seem to be available from HAIL and HSBC Guernsey, which are now parties in foreign
proceedings brought by Lucille in March 2022. Lucille does not deny that but contends that “there is no guarantee
that HAIL and HSBC Guernsey have preserved all the same communications and other documents that Edge has
preserved.” ECF No. 35 at 26. That is an argument that can be made should Lucille decide to file a new application
for discovery from Edge pursuant to section 1782.


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Thus, if the Court indeed has the authority to address the application because Lucille has now met

the statutory preconditions (as Lucille urges), it exercises its discretion to deny the application at

this time—not because the Intel factors counsel denial, but because the Intel factors can now be

addressed. 21 The denial is without prejudice, however, to Lucille filing a new application in this

same action that meets the requirements of section 1782. See, e.g., In re da Costa Pinto, No. 17—

MC-22784, 2018 WL 6620132, at *1 (S.D. Fla. Oct. 23, 2018) (denying a section 1782 application

but allowing the applicant 30 days to file a new application under the same case number).

                                             III.      CONCLUSION

          For the foregoing reasons, it is hereby

          ORDERED that the Application of Lucille Holdings Pte. Ltd. for an Order Permitting

Discovery under 28 U.S.C. § 1782 (ECF No. 1) is DENIED WITHOUT PREJUDICE. It is

further

          ORDERED that, on or before June 6, 2022, Lucille Holdings Pte. Ltd. may submit a new

section 1782 application directed at Edge Funds Management LLC under this same case number.

That application shall be served on Edge Funds Management LLC and shall include a

memorandum of law in support the request that is complete in itself and does not incorporate

earlier filings by reference. It shall also include one or more proposed subpoenas that are narrowly

tailored to the discovery sought. It is further




21
   Lucille’s argument that denying its application when it has now satisfied the three statutory factors of § 1782(a) is
an affront to judicial efficiency, see ECF No. 30 at 20, is not well-taken. Its own protracted vagueness as to its claims
and the time periods and venues in which they would be brought would have necessitated further briefing on the Intel
factors even if the Court had found it had the statutory authority to grant the application despite the fact that Lucille
failed to show that it met the statutory prerequisites when this litigation began. More, the goal of efficiency is served
by a rule that a section 1782 applicant must, at the time of its application, demonstrate through sufficiently specific
and detailed objective indicia (such as those suggested here) that proceedings in a foreign or international tribunal will
be initiated within a reasonable time, see Crown Prosecution Serv., 870 F.2d at 692, because such a showing will help
stave off the drawn-out litigation over the question that happened here.


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          ORDERED that 14 days after Lucille files and serves any new section 1782 application,

Edge Funds Management LLC shall file and serve any opposition to the application. That

opposition shall be complete in itself and shall not incorporate earlier filings by reference. It is

further

          ORDERED that 7 days after Edge Finds Management LLC files any opposition, Lucille

Holdings Pte. Ltd. shall file any reply. That reply shall be complete in itself and shall not

incorporate any prior filings by reference. It is further

          ORDERED that if Lucille seeks to appeal this Memorandum Opinion and Order rather

than file a renewed motion, it shall do so in accordance with Rule 72(a) of the Federal Rules of

Civil Procedure by filing objections within 14 days after being served with a copy of this

Memorandum Opinion and Order. If such objections are filed, a district judge will be assigned to

the case, who may reconsider or reverse this Memorandum Opinion and Order if it is “clearly

erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A). It is further

          ORDERED that if this Memorandum Opinion and Order is not appealed within 14 days

of service and no new section 1782 application is filed in this action by June 6, 2022, the case shall

be closed.

          SO ORDERED.
                                                                          Digitally signed by G.
                                                                          Michael Harvey
                                                                          Date: 2022.05.05
Date: May 5, 2022                                      ___________________________________
                                                                          09:23:44 -04'00'
                                                       G. MICHAEL HARVEY
                                                       UNITED STATES MAGISTRATE JUDGE




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